                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                          )
                                                    )
                        Plaintiff                   )
                                                    )
 v.                                                 )          No. 3:05-CR-128
                                                    )          (PHILLIPS/GUYTON)
 WILLIAM DREW,                                      )
                                                    )
                                                    )
                        Defendant                   )


                           ORDER OF DETENTION PENDING TRIAL

                The above-named defendant appeared in custody before the undersigned on

 November 16, 2005, for an initial appearance and arraignment on an indictment. Special

 Assistant United States Attorney Brownlow Marsh was present for the government and Mike

 Whalen appeared as CJA appointed counsel for the defendant

                The defendant is currently serving a term of imprisonment on state charges and

 was brought before this Court on a writ. The defendant and his attorney executed a Waiver of

 Detention Hearing in open court reserving the defendant’s right to request a hearing at a later

 date if his circumstances should change.

                Accordingly, the defendant is committed to the custody of the Attorney General

 or his designated representative for confinement in a corrections facility separate, to the extent

 practicable, from persons awaiting or serving sentences or being held in custody pending appeal.

 The defendant shall be afforded a reasonable opportunity for private consultation with defense

 counsel. On order of a court of the United States or on request of an attorney for the government,

 the person in charge of the corrections facility shall deliver the defendant to the United States



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 Marshal for the purpose of an appearance in connection with a court proceeding.

               IT IS SO ORDERED.




                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge




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